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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                         FORT MYERS DIVISION


 TORY D. CARNEGIE,

       Plaintiff,

 v.                                            Case No. 2:25-cv-00012-SPC-KCD

 CAPITAL ONE, N.A., EQUIFAX
 INFORMATION SERVICES, LLC,
 TRANSUNION, LLC, EXPERIAN
 INFORMATION SOLUTIONS,
 INC.,

       Defendants.

                                     /

                         NOTICE OF APPEARANCE

       Kindly enter the appearance of Victor Silva, Esquire of Buchanan Ingersoll

 & Rooney PC on behalf of Defendant Trans Union, LLC in the above-referenced

 matter.

                               Respectfully submitted,

                               BUCHANAN INGERSOLL & ROONEY PC

                               By:       /s/ Victor Silva
                                          Victor Silva, Esq.
                                         Fla. Bar No.: 1059856
                                         Buchanan Ingersoll & Rooney PC
                                         401 E. Jackson Street, Suite 2400
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                                      Email: victor.silva@bipc.com
 Dated: March 31, 2025                Counsel for Defendant, TransUnion, LLC



                         CERTIFICATE OF SERVICE

       I hereby certify that on the 31ST day of March, 2025, I caused a true and

 correct copy of the foregoing document to be served electronically via the Court’s

 CM/ECF system.


                                             /s/ Victor Silva
                                             Victor Silva
                                             4931-2919-8384, v. 1
